        Case 14-19245-amc              Doc 52 Filed 02/20/20 Entered 02/21/20 01:02:56                               Desc Imaged
                                            Certificate of Notice Page 1 of 2
                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
In re:                                                                                                     Case No. 14-19245-amc
Brian Thomas Harvey                                                                                        Chapter 13
Jodi Ann Harvey
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0313-2                  User: Randi                        Page 1 of 1                          Date Rcvd: Feb 18, 2020
                                      Form ID: 225                       Total Noticed: 4


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 20, 2020.
db/jdb         +Brian Thomas Harvey,   Jodi Ann Harvey,   2866 Tyler Avenue,   Bensalem, PA 19020-4239

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: megan.harper@phila.gov Feb 18 2020 18:17:33      City of Philadelphia,
                 City of Philadelphia Law Dept.,   Tax Unit/Bankruptcy Dept,     1515 Arch Street 15th Floor,
                 Philadelphia, PA 19102-1595
smg             E-mail/Text: RVSVCBICNOTICE1@state.pa.us Feb 18 2020 18:17:06
                 Pennsylvania Department of Revenue,    Bankruptcy Division,    P.O. Box 280946,
                 Harrisburg, PA 17128-0946
smg            +E-mail/Text: usapae.bankruptcynotices@usdoj.gov Feb 18 2020 18:17:19       U.S. Attorney Office,
                 c/o Virginia Powel, Esq.,   Room 1250,    615 Chestnut Street,    Philadelphia, PA 19106-4404
                                                                                              TOTAL: 3

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 20, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 18, 2020 at the address(es) listed below:
              BRAD J. SADEK   on behalf of Joint Debtor Jodi Ann Harvey brad@sadeklaw.com, bradsadek@gmail.com
              BRAD J. SADEK   on behalf of Debtor Brian Thomas Harvey brad@sadeklaw.com, bradsadek@gmail.com
              United States Trustee   USTPRegion03.PH.ECF@usdoj.gov
              WILLIAM C. MILLER, Esq.   ecfemails@ph13trustee.com, philaecf@gmail.com
                                                                                            TOTAL: 4
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                                   Certificate of Notice Page 2 of 2




                                     UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re:                                                                              Chapter: 13
         Brian Thomas Harvey and Jodi Ann Harvey
Debtor(s)                                                                           Case No: 14−19245−amc
_____________________________________________________________________________________________
                                                       ORDER

          AND NOW, it appearing that the debtor(s) must file either a statement regarding completion of a course
in personal financial management, see 11 U.S.C. §1328(g)(1), or a request for a waiver from this requirement, see
11 U.S.C. §109(h)(4),

           AND it Further appearing that the debtor(s) must file a certification regarding domestic support
obligations and §522(q) see 11 U.S.C. 1328(a),

           AND, Notice was given to the debtor(s) that this case would be closed without the entry of a discharge
order unless the Debtor(s), by a date certain, filed the statement regarding completion of a course in personal
financial management, and/or the certification regarding domestic support obligations and §522(q),
            AND, the Debtor(s) has/have not filed the required statement and/or certifications,
          AND, it appearing that the trustee in the above entitled matter has filed his report and that the trustee has
performed all other duties required in the administration of the Debtor(s)'; estate,
           IT IS HEREBY ORDERED that the trustee be discharged and relieved of any trust; and this case be and
the same hereby is CLOSED, without the entry of an order of discharge.




                                                                                For The Court

  2/18/20                                                                       Ashely M. Chan

                                                                                Judge ,United States Bankruptcy
                                                                                Court



                                                                                                                        51
                                                                                                                  Form 225
